Case 6:14-cv-06275-FPG-MWP Document 88-10 Filed 03/02/18 Page 1 of 4

EXHIBIT I
Case 6:14-cv-06275-FPG-MWP Document 88-10 Filed 03/02/18 Page 2 of 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

MARISSA CARTER, EVELYN GRYS,
BRUCE CURRIER, SHARON KONING,
SUE BEEHLER, MARSHA MANCUSO,
and JACLYN CUTHBERTSON, as
Individuals and as representatives of the
classes,

Plaintiffs
v. Civil No. 6:14-cv-06275
CIOX HEALTH, LLC f/k/a ClIOX
TECHNOLOGIES, LLC, THE ROCHESTER
GENERAL HOSPITAL, THE UNITY HOSPITAL

OF ROCHESTER, and F.F. THOMPSON
HOSPITAL, INC.,

Defendants.

RULE 26(a)(1) INITIAL DISCLOSURES

Defendant CIOX Health, LLC (“CIOX”), by its attorneys, Hodgson Russ LLP, pursuant
to Rule 26(a)(1) of the Federal Rules of Civil Procedure, makes the following Initial Disclosures.
CIOX makes these disclosures based on information reasonably available to it at this time and
reserves the right to supplement these initial disclosures after further investigation and discovery,
pursuant to Federal Rule of Civil Procedure 26(e). By describing documents and potential
witnesses, CIOX does not wave its rights to object to the production of any document or
testimony of such witness on any ground, including attorney-client privilege, the work product

doctrine, relevance, or other limitations provided for in the Federal Rules of Civil Procedure.

1. Rule 26(a)(1)(A)(i). Individuals. The name and, if known, the address and telephone
number of each individual likely to have discoverable information- along with the subjects of
that information- that the disclosing party may use to support its claims or defenses, unless the
use would be solely for impeachment.
Case 6:14-cv-06275-FPG-MWP Document 88-10 Filed 03/02/18 Page 3 of 4

Individual Subject Matter

Amy Creswell CIOX Operations in the Northeast Region of
CIOX Technologies, LLC the United States, including a portion of New
Vice President of Operations, Northeast York

Contact through Counsel

Anthony Fabrizio CIOX relationship with RGH, Unity, and F. F.
CIOX Client Executive Thompson

Contact through counsel

Pamela Tilley CIOX Operations as they relate to FF.
CIOX Regional Manager of Operations Thompson

Contact through counsel

Juliana Szakall CIOX Operations as they relate to Rochester
CIOX Regional Manager of Operations General Hospital and Unity

Contact through counsel

Dawn King

Unity Health Information Manager

Contact through counsel

Marissa Carter Plaintiff

Evelyn Grys Plaintiff

Bruce Currier Plaintiff

Sharon Koning Plaintiff

Sue Beehler Plaintiff

Marsha Mancuso Plaintiff

Jaclyn Cuthbertson Plaintiff

IL. Rule 26(a)(1)(A)(ii). Documents and Things. The following categories of documents
in paper and/or electronic format and things are located at Defendant’s offices at 925 North Point
Parkway, Suite 350, Alpharetta, GA 30005:

e Documents evidencing the relationship between CIOX and each of Rochester General
Hospital, The Unity Hospital of Rochester, and F.F. Thompson Hospital.

e Documents reflecting written and oral communications between HealthPort, CIOX, and
Plaintiffs or the law firm(s), if any.

Case 6:14-cv-06275-FPG-MWP Document 88-10 Filed 03/02/18 Page 4 of 4

e Documents demonstrating and implementing the 42-step process utilized by CIOX to

process medical records requests, which ensures confidentiality and accuracy of the
records.

e Documents evidencing the process by which CIOX responds and processes medical
records requests at the Hospitals and generally.

e Documents relating to costs incurred by CIOX in processing medical records requests.

Ii. Rule 26(a)(1)(A)(iii). Damages. CIOX does not currently claim any direct damages
against the named Plaintiffs. This action is brought as a putative class action, however, and
members of the class, if certified, may owe CIOX monies for breach of contract, unjust
enrichment, or CIOX may have a claim for non-payment. CIOX accordingly has asserted

defenses for set-off and recoupment, and will clarify the amount of damages if and when a class
is defined and certified.

IV. Rule 26(a)(1)(A)(iv). Insurance. None.

Dated: September 8, 2017

HODGSON RUSS LLP

By

Jodyanfh Galvin
on M. Saykin
The Guaranty Building
140 Pearl Street
Buffalo, New York 14202
Telephone: (716) 856-4000

jgalvin@hodgsonruss.com
asaykin@hodgsonruss.com

078116.00001 Litigation 14483239v1
